                                                   Case 2:14-cr-00044-TLN Document 104 Filed 09/08/16 Page 1 of 2


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                                            5   Attorneys for Defendant
                                                ALEKSANDR KUZMENKO
                                            6

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                                            8                                  IN THE UNITED STATES DISTRICT COURT

                                            9                            FOR THE EASTERN DISTRICT OF CALIFORNIA

                                           10

                                           11   UNITED STATES OF AMERICA,                            Case No. 2:14-CR-00044-GEB

                                           12                     Plaintiff,
                                                                                                     STIPULATION AND [PROPOSED]
               S ACRAMENTO , C ALIFORNIA




                                           13            v.                                          ORDER
B ARTH D ALY LLP
                   A TTORNEYS A T L AW




                                           14   ALEKSANDR KUZMENKO,

                                           15                     Defendant.

                                           16

                                           17            The parties to this litigation, the United States of America, represented by Assistant

                                           18   United States Attorney, Michele M. Beckwith, and defendant Aleksandr Kuzmenko, represented

                                           19   by Kresta N. Daly, hereby agree and stipulate to the following:

                                           20            1. By previous order, this matter was set for sentencing on September 23, 2016.

                                           21            2. By this Stipulation, the parties move to continue the sentencing until October 28,

                                           22   2016.

                                           23            3. The parties agree and stipulate to the following and request the Court find the

                                           24   following:

                                           25                 a. The draft PSR shall be disclosed to counsel no later than September 16, 2016;

                                           26                 b. Counsel’s written objections to the PSR shall be delivered to the Probation Officer

                                           27   and Opposing Counsel no later than September 30, 2016;

                                           28                 c. The PSR shall be filed with the court and disclosed to counsel no later than
                                                {00019936}
                                                                                              -1-
                                                STIPULATION AND ORDER                                                             [Case No. 2:14-CR-00044-GEB]
                                                  Case 2:14-cr-00044-TLN Document 104 Filed 09/08/16 Page 2 of 2


                                            1   October 7, 2016;

                                            2               d. The Motion for Correction of the PSR shall be filed with the court and served on

                                            3   the Probation Officer and Opposing Counsel no later than October 14, 2016;

                                            4               e. Any replies or statements of non-opposition are due no later than October 21,

                                            5   2016.

                                            6           4. Probation is aware of the proposed changes and has no objection.

                                            7           IT IS SO STIPULATED.

                                            8   Respectfully submitted:
                                                                                     BENJAMIN B. WAGNER
                                            9                                        UNITED STATES ATTORNEY
                                           10
                                                Dated: September 1, 2016                    /s/ Michele M. Beckwith
                                           11                                               MICHELE M. BECKWITH
                                                                                     Assistant United States Attorney, Attorney For The Plaintiff
                                           12
                                                Dated: September 1, 2016             BARTH DALY LLP
               S ACRAMENTO , C ALIFORNIA




                                           13
B ARTH D ALY LLP
                   A TTORNEYS A T L AW




                                                                                     By     /s/Kresta Nora Daly
                                           14                                               KRESTA NORA DALY
                                                                                     Attorneys for Defendant Aleksandr Kuzmenko
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                                                                                            ORDER
                                           17
                                                   IT IS SO ORDERED.
                                           18
                                                Dated: September 7, 2016
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                                                 STIPULATION AND ORDER                                                        [Case No. 2:14-cr-00044-GEB]
